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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA                                FILED
__________________________________________                       NOV - 6 2020
                                           )               Clerk, U.S. District & Bankruptcy
JESSE BOYD,                                )               Court for the District of Columbia
                                           )
                        Petitioner,        )
                                           )
            v.                             ) Civil Action No. 20-3167 (UNA)
                                           )
LENNARD JOHNSON,                           )
                                           )
                        Respondent.        )
_________________________________________ )


                                  MEMORANDUM OPINION


       Criminal charges against petitioner Jesse Boyd are pending in the Superior Court of the

District of Columbia. See Pet. ¶ 6. Petitioner currently is detained at the D.C. Jail pursuant to

D.C. Code § 23-1322. See id. ¶¶ 6, 13. He explains that his last court appearance was on

February 14, 2020, for a preliminary hearing, see id. ¶ 6, and each subsequent hearing date has

been continued, see id. ¶ 13, due to the coronavirus pandemic. According to petitioner, not only

is he detained for a “term . . . beyond the statutory protections of the expedited calendar dictated

by [D.C. Code §] 23-1322(h)(1),” but also is at risk for exposure to the coronavirus at the D.C.

Jail. Id. ¶ 8. The presiding judge denied his emergency motions for release from custody on

April 20, 2020, July 17, 2020, and September 29, 2020, see id. ¶¶ 7-9, and now before the Court

is petitioner’s Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241. Petitioner demands

immediate release from the D.C. Jail and placement on home confinement. See Pet. ¶ 15.

       “[A] federal court may dismiss an action when there is a direct conflict between the

exercise of federal and state jurisdiction and considerations of comity and federalism dictate that


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the federal court should defer to the state proceedings.” Hoai v. Sun Refining and Marketing

Co., Inc., 866 F.2d 1515, 1517 (D.C. Cir. 1989) (citing Younger v. Harris, 401 U.S. 37, 43-45

(1971)). This is such an action. See Miranda v. Gonzales, 173 F. App’x 840 (D.C. Cir.) (per

curiam) (“It is well-settled . . . that a court will not act to restrain a criminal prosecution if the

moving party has an adequate remedy at law and will not suffer irreparable injury if denied

equitable relief.” ) (citation omitted), cert. denied, 549 U.S. 889 (2006); see Reed v. Wainwright,

No. 10-CV-0807, 2010 WL 1980170, at *1 (D.D.C. May 17, 2010) (“This Court not only lacks

the authority to overturn a decision of a Superior Court judge, but also refrains from interfering

with ongoing Superior Court proceedings.”); Smith v. Holder, No. 14-131, 2014 WL 414292, at

*1 (D.D.C. Jan. 30, 2014), aff’d, 561 F. App’x 12 (D.C. Cir. June 16, 2014) (per curiam) (noting

appellant’s failure to “show[] that the district court erred in dismissing his challenge to pending

District of Columbia criminal proceedings under the abstention doctrine of Younger v. Harris”).

        Petitioner may raise – and presumably already has raised – any constitutional claim he

believes he has regarding his ongoing detention. Because petitioner remains in custody by order

of the Superior Court, this Court declines to act. See Lewis v. Senior Judges, 75 F. Supp. 3d

201, 203 (D.D.C. 2014). The Court will grant petitioner’s application to proceed in forma

pauperis, deny the habeas petition without prejudice, and dismiss this civil action without

prejudice. An Order accompanies this Memorandum Opinion.




DATE: November 6, 2020                                   /s/
                                                         KETANJI BROWN JACKSON
                                                         United States District Judge




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